SOLUTIONS, INC.; TRANS UNION
LLC; EQUIFAX, INC.; EQUIFAX
INFORMATION SERVICES, LLC

RECE|VED

UNITED sTATEs DISTRICT COURT ASHEV'LLE. N.c.

WESTERN DISTRICT OF NORTH CAROLINA NOV 0 8 2018
ASHEVILLE DIVISION
C|erk, U.S. D' 7
) W. Dist. oigl&.g?un
TERI LYNN HINKLE )
Plaintijf )
) Civil No: 1:18-CV-00007-MR-DLH
vs )
)
EXPERIAN INFORMATION )
)
)
)
)

Defendants

REQUEST FOR CLERK’S ENTRY OF DEFAULT

Teri Lynn Hinkle, the Plaintiff in this case, deposes and says under penalty of perjury:

l. I am the Plaintiff in the above-entitled action. I am familiar With all the facts and

circumstances in this action.

. I make this affirmation pursuant to Rule 55.1 and 55.2(A) of the Federal Civil Rules for

the Western District of North Carolina in support of Plaintiff’ s application for the entry of
a default judgment against Defendants Equifax, Inc. and Equifax Information Services,

LLC.

. This is an action to recover statutory damages owed by the Defendants EquifaX, Inc. and

Equifax Information Services, LLC for violation of the Fair Credit Reporting Act. The

defendants are not infants, in the military, or incompetent persons.

. Jurisdiction of the subject matter is based on Plaintiff at all times being a citizen of the

United States and resident of Cherokee County, North Carolina.

. This action Was commenced on January 8, 2018 by the filing the original complaint A

copy of the summons and complaint Was served on the Defendant Equifax, Inc. on

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January 31, 2018 [Doc. 24]. The Court assigned the case number 1:18-cv-00007-MR-
DLH. The original complaint was replaced on April 6, 2018 by the filing of a First
Amended Complaint (FAC), by Plaintiff A copy of the FAC was sent to Def`endant
Equifax, Inc. and served via the United States Postal Service on April 4, 2018. Summons
for Defendant Equifax Information Services, LLC (EIS), was issued by the Court on
April 9, 2018 [Doc. 38]. Summons and a copy of the FAC was executed and received by
EIS on April 16, 2018 [Doc. 47].
. Defendants Equif`ax, Inc. and EIS filed jointly filed a Motion to Dismiss Plaintiff’ s First
Amended Complaint on April 20, 2018. [Doc. 43] Plaintiff filed a Response in
Opposition to the Motion to Dismiss on May 2, 2018. [Doc. 46]
. The Joint Motion to Dismiss filed by Defendants Equifax, Inc. and EIS was denied by
Court Order on September 25, 2018. [Doc. 57]
. Defendants Equifax, Inc. and EIS have not answered the First Amended Complaint and
the time the Defendants to answer has expired pursuant to FRCP 12(a)(4)(A).
. This action seeks judgment for statutory damages in the amount of $1,000.00 per
defendants plus costs which is justly due and owing and no part of which has been paid to
date.

WHEREFORE, Plaintiff requests the entry of Default and the entry of` the annexed

Judgment against the Defendants Equifax, Inc. and Equifax Information Services, LLC.

 

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queensongbird@gmail.com

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CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the foregoing document was sent to the parties listed
below by first class mail USPS.

Counsel for Defendant(s) Equifax Inc. & Equifax Information Services LLC
Bradley J. Lingo l

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D ed November 7, 2018

    

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